                                Summary of Employment Agreement Menards Projects Where Commission Was Calculated Using Improper Overhead



                                  Amount Received     Costs Charged to                    Per Job Cost Detail Reports:                        Total
                                     from Client            Client          Cost Code       Cost Code     Cost Code       Cost Code      of Referenced
  Project Name     Job Number       (Trial Ex. 81)      (Trial Ex. 81)        1115            1415            1443          9999          Cost Codes           30% of Total        Exhibits
MEN-DAY          11MEN-001        $    4,462,767.30   $    4,257,156.94   $   10,251.00    $ 2,053.00 $ 22,018.00 $ 101,261.00         $      135,583.00   $        40,674.90 Trial Exs. 9, 10
MEN-CHE          12MEN-002        $    6,004,802.67   $    5,921,462.20   $   13,837.00    $ 1,377.00 $ 19,808.00 $ 49,097.00          $       84,119.00   $        25,235.70 Trial Exs. 11, 12
MEN-SPR          12MEN-005        $    7,226,681.28   $    7,133,806.11   $   16,970.00    $ 1,335.00 $ 24,397.00 $ 48,859.00          $       91,561.00   $        27,468.30 Trial Exs. 13, 14
MEN-CED          12MEN-008        $    2,827,607.92   $    2,781,149.40   $    7,281.00    $    815.00 $ 17,854.00 $ 57,212.00         $       83,162.00   $        24,948.60 Trial Exs. 15, 16
MEN-STP          12MEN-012        $    4,675,155.17   $    4,424,308.72   $   11,297.00    $    999.00 $ 21,488.00 $ 119,709.00        $      153,493.00   $        46,047.90 Trial Exs. 17, 18
MEN-LIV          12MEN-016        $    6,411,764.65   $    6,376,379.20   $   12,774.00    $ 1,203.00 $ 22,126.00 $ 30,616.00          $       66,719.00   $        20,015.70 Trial Exs. 19, 20
MEN-CHY          12MEN-018        $    3,901,746.18   $    3,674,397.73   $   10,932.00    $ 1,759.00 $ 19,431.00 $ 116,590.00         $      148,712.00   $        44,613.60 Trial Exs. 21, 22
MEN-EVE          12MEN-019        $    6,248,254.17   $    6,071,644.25   $   10,560.00    $ 1,830.00 $ 23,287.00 $ 91,149.00          $      126,826.00   $        38,047.80 Trial Exs. 23, 24
                                                                                                          Subtotal to be Added Back:   $     890,175.00    $      267,052.50




                                  Case 2:17-cv-01407-LA Filed 08/16/24 Page 1 of 1                                          Document 155-2
                                                     Trial Exhibit 145 | Page 1 of 1
